               Case 18-12241-CSS       Doc 416     Filed 10/26/18     Page 1 of 4


                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                        )      Chapter 11
                                              )
MATTRESS FIRM, INC., et al.,                  )      Case No. 18-12241 (BLS)
                                              )      Jointly Administered
                Debtors.                      )      Related Docket No. 22 and 333

            LIMITED OBJECTION OF SHELBYVILLE ROAD PLAZA LLC TO
           JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION
            FOR MATTRESS FIRM, INC. AND ITS DEBTOR AFFILIATES AND
           NOTICE OF CURE AMOUNTS RELATING TO UNEXPIRED LEASES
         THAT THE DEBTORS MAY SEEK TO AS , UME PURSUANT TO TILE PLAN

          Shelbyville Road Plaza LLC ("Shelbyville"), by its undersigned counsel, submits this

limited objection to the Joint Prepackaged Chapter 11 Plan of Reorganization.for Mattress Firm,

Inc. and Its Debtor Affiliates [Docket No. 22] (the "Plan") and the Debtors' Notice of Cure

Amounts Relating to Unexpired Leases that the Debtors may Seek to Assume Pursuant to the Plan

[Docket No. 333] (the "Cure Notice"). In support of this limited objection, Shelbyville respectfully

states as follows:

                                         BACKGROUND

          1.    Mattress Firm, Inc. ("Mattress Firm") leases retail space from Shelbyville pursuant

to an unexpired lease of non-residential real property dated October 1, 2012 (as amended, the

"Lease"), for property in the Shelbyville Road Plaza (the "Center") located at 4600 Shelbyville

Road, Ste. 651-652, Louisville, KY (the "Premises"). The Center is a "shopping center" as that

term is used in Bankruptcy Code § 365(b)(3).         Consequently, Shelbyville is entitled to the

protections that Bankruptcy Code § 365(b )(3) grants to landlords of shopping centers.

          2.     Mattress Firm and its Debtor affiliates (collectively, the Debtors") each filed a

voluntary petition for relief under Chapter 11 of the Bankruptcy Code on October 5, 2018. The

Debtors filed the Plan on the same day. The Debtors filed the Cure Notice on October 19, 2018.
            Case 18-12241-CSS          Doc 416        Filed 10/26/18   Page 2 of 4



The individualized cure notice for the Lease proposes a cure amount of $22,559.77 (the "Proposed

Cure Amount").

                                     LlMlTED OBJE TlON

       3.      Shelbyville acknowledges that the Proposed Cure Amount is the amount necessary

to cure current defaults under the Lease. However, additional amounts may have accrued before

the Petition Date that may not become due until after the assumption of the Lease. In addition,

Section 8.2 of the Lease requires Mattress Firm to indemnify and hold Shelbyville harmless with

respect to any claim arising as a result of the action or inaction by Mattress Firm and/or its agents.

While Shelbyville is not aware of any action or inaction by Mattress Firm prior to the Petition Date

that may give rise to any claims, it is possible that claims may exist. If the Debtors assume the

Lease, they must also assume these obligations.

       4.      Article VI.A of the Plan provides that Assumed Leases are being reinstated but it

is not clear whether this provision provides for the assumption of these obligations. Accordingly,

the Plan or the order confirming the Plan should specifically provide that the Debtors will be liable

for any and all accrued but unbilled charges under Assumed Leases even if those charges relate to

pre-petition or pre-assumption periods and shall pay any and all year-end adjustments and other

charges when due pursuant to the terms of the Assumed Leases regardless of when the charges

accrued. In addition, the Plan or the Order confirming the Plan should provide that the Debtors

will remain subject to the terms of Assumed Leases including indemnification obligation

regardless of when they arose.

                                             JO IND ER

       5.      Shelbyville joins the objections filed by the Debtors' other landlords to the extent

that they supplement and are not otherwise inconsistent herewith.




                                                  2
            Case 18-12241-CSS          Doc 416       Filed 10/26/18   Page 3 of 4



                                         CONCLUSION

       WHEREFORE, for the foregoing reasons, Shelbyville respectfully requests that any order

entered by this Honorable Court be consistent with this limited objection and further requests that

the Court grant to Shelbyville such other and further relief as the Court deems just and appropriate

under the circumstances.


Date: October 26, 2018
      Wilmington, DE
                                              VE.TINE. ALLINSON L~C
                                              William A. Hazeltine (No . ~ 94)
                                              901 North Market Street, · ·e 1300
                                              Wilmington, DE 19801
                                              Tel: (302) 428-8191
                                              Fax: (302) 428-8195
                                              Email: whazeltine@sha-llc.com

                                              Attorneys for Shelbyville Road Plaza LLC




                                                 3
              Case 18-12241-CSS          Doc 416     Filed 10/26/18      Page 4 of 4



                                 CERTIFJCATE OF SERVICE
        I, William A. Hazeltine, do hereby certify I am not less Lhan 18 years of age and that on
this 26th day of October 2018, I caused copies of th within Limited Objection o,(Shelbyville Road
Plaza LLC to Joint Prepackaged Chapter 11 Plan of Reorganization for Mattress Firm, Inc. and
its Debtor Affiliates and Notice of Cure Amounts Relating to Unexpired Leases that the Debtors
May Seek to Assume Pursuant to the Plan to be served upon the parties listed below via U.S. Mail,
First Class, postage pre-paid. All other parties who have signed up for electronic filing in this case
will receive electronic notice via CM/ECF.

 Kindel Elam                                       Andrew V. Tenzer
 Mattress Firm, Inc.                               Michael E. Comerford
 10201 South Main Street                           Paul Hastings LLP
 Houston, TX 77025                                 MetLife Building
                                                   200 Park A venue
 Bojan Guzina                                      New York, NY 10166
 Matthrew E. Linder
 Sidley Austin LLP                                 Marc R. Leduc
 One South Dearborn                                Morgan, Lewis & Bockius LLP
 Chicago, IL 60603                                 One Federal Street
                                                   Boston, MA 02110-1 726
 Edmon L. Morton
 Ashley E. Jacobs                                  Amy Edgy
 Young Conaway Stargatt & Taylor, LLP              Linklaters LLP
 1000 North King Street                            601 13th Street NW, #400
 Wilmington, DE 19801                              Washington, DC 20005

 Linda Richenderfer                                Christopher Hunker
 Office of the United States Trustee               Linklaters LLP
 844 King Street, Suite 2207                       1345 6th Avenue
 Lockbox 35                                        New York, NY 10105
 Wilmington, DE 19801
                                                   Adam Goldberg
 Mark D. Collins                                   Latham & Watkins LLP
 Jason M. Madron                                   885 Third Avenue
 Richards, Layton & Finger, P.A.                   New York, NY 10022
 One Rodney Square
 920 North King Street                             William Bowden
 Wilmington, DE 19801                              Ashby & Geddes, P.A.
                                                   500 Delaware Avenue, 81h Floor
                                                   Wilmington, DE 19801


October 26, 2018                                              Isl William A. Hazeltine
Date                                                          William A. Hazeltine
